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pata prosentar
reclamaciones

Thdéng fin quan trong

Giaims satisfaction
questionnaire

-http://www.bp.com/sectiongenericarticle.do?category]d=9033791 &contentld=7062345

>» How fo make a claim

How to make a claim

BP deeply regrets the spill that has occurred
in the Gulf of Mexico as a result of the
Deepwater Horizon Incident. BP takes full
responsibility for responding to the
Deepwater Horizon Incident

Items covered

BP is committed fo paying afl legitimate claims for damages resulting from the
oil spill and necessary résponse dosit. This includes:

Property damage

Net joss of profits and earning capacity
Subsistence joss and natural resource damage
Removal and cleanup costs

Cost of Increased public services

Net joss of government revenue

a6 ¢ @ 4

BP also will evaluate all claims for bodily injury even though they are not
payable under the Oi Spill Pollution Aci of 1990.

individuals and businesses

SP has esteblisned 3 process tor individuals and businesses to Mle claims to
cover losses and/or damage, File a claim by calling the toll-free number. 1-BO0-
440-0858, or by submitling @ farm online:

+ Claima submission form
+ Formulario an espafiel para sresentar reclamaciones (Spanish form)
» Thang fin quan trang (Vietnamese form

{f you file a claim via the toll free number, 1-800-440-0858

« You will be given a claim number by the cal center. itis important that
you keep your claim number. You wil need this information,

*® After you Rave your claim number, a claim adjuster will contact you, ar
you can visi a claim center.

« iH you visit the claim ceater, you will peed io have documentation to
support your clair and a photo 1D.

i» Wetchthevideo

in this section

» OP community and claims
atfice locations

: ae
: Latest video

. The impact the claims center Ras
nad in Bayou ie Batre, Alabarna

| Helpful downloads

® BP Claims process (pdf,
' 248KB}

: + BP Claims process
| (Goverment entity) (pdf, 34K)

: » Attorney represeniation farm
» (pdf, 64K}

{ » Commercial fisherman claims
: form (pef, 103KB}

» Crabbers claims form ted,
: 104K)

, + Oyster lease owner claims
: form (pdf, S8XBy

i + Commercial shrimper claims
> form (pat, 94K5}

» Commercial claim

documentation {odf, 638}

: Press conference

: Claims process press conference
. Orange Beach Alabama - § June
3040

_», Listen to the press conference

Ex. 2

How to make a claim,
http:/Awww.bp.com/sectiongenericarticle.do
Pcategoryld=9033791&contentid=7062345
{last visited June 17, 2010)

6/17/2010
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® if you falk with 2 claim adjuster on the phone, documentation can he
sent by mail, emai, or fax.

» See Selow for what type of documentation is needed for sack type of
clainy

if you file a claim online at www.bp.comiclaims:

» You wil os called and provided a claim number, usually ine same day.

e After you have your claim number, a claim adjuster will contact you, or
you can visit 4 claim center.

@ ifyou visti the center, you will need 2 photo 1D and decumentation to
support your claim.

* ifyoy talk with a claim adjuster on the phone, documentation can be
sent by mail, email, or jax.

e See below for what is needed for each type of claim.

Visit a Claims Office

You may visit one of the 28 BP Claims Offices; however, w6 recommend thal
you first ablain a claim number by calling the toll free number 1-800-440-0858.
This will help avoid-delays.

» List of Bf Claims Offices

Claims by mall

You may submit a claim via mail by sending it io: ESI, One Beaver Valley
Fioad, Wimington, DE 48803

Other information

You should aniy file one claim, ‘You can report diHerent types af damages of
the same form with the same claim number, Exceptions include f you are
reporting groperty damage for more than oné real estate property. if this is the
case, file a separate form for each address. Claim adjusters can answer any
guestions ar deal with exceptions.

Claims that are of large monetary value or are based on complex economic
predictions of loss should be sent to ESIS, One Beaver Valley Road,
Wilmington, OF 19803. These clairis will be handled by specialized adjusters
with the assistance of accountants and lawyers,

Government entities

States, parishes, counties and loca! government and other political subdivisions
that have incurred expenses responding to ihe Deepwater Horizon incident and
of spill wit have a separate dedicated process. Government entilies can send
their claims to ESIS Government Entity Claims, One Beaver Valley Read,
Wilmington, DE 19803. The fax number is (402) 476-6272. Local governmnent
entities may submit claima by phone by calling (202) 476-7732. All government
claims will be handled by a specialized team and will be given high priority.

BP has made advanced funds available to the slatas of Louisiana, Mississippi.
Alabania and Florida, a3 well ag several local parishes in Loulsiana. Local
Government Entties aré hot required to submit claims to the states and
parishes who received advanced funds priar to submilling claims to BP.

Supporting documentation

You wif need to provide photo iD and documentation supporting your toss.
Below is information about whalis needed lo support various claims.

Loss of income or net profit claim documentation can
include:

Tax records

Trip tickets

Wage loss statements

Deposit sips

Boat registrations

Copies of your curren fishing fcense

eo ¢ 8B & 8 @

Deckhands anc others that work on a cash-only basis can also suormit claims.

http://www.bp.com/sectiongenericarticle.do?categoryld=903379 1 &contentld=7062345 6/17/2010
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They will need to provide phate 1D and a copy of a pay stub or another
document showing how much money they earn. They will alse need to provide
a phone number for their caplain o maneger te confirm employment.

Commercial economic loss claims may tequire additional business specific
records,

Property damaye claims can require photographs and replacerment or
ciaaning receipts.

Larger property damage claims may require on-site Inspection by a claim
adjuster.

Lass of rentat claims can include ariar eccupancy rales, cancedations, fax
fecords, and bookxeeping records,

Bodily injury claims are not payable under ine Of Pollution Act of 1980,
however, BP will evaluate each bodily injury claim suomitted on 9 case-by-case
basis. You will need te provide medical records. medical bills, or pharmacy
records to support the cigim.

Loss of income or net profit

Loss of incoine or net profit payments are mate 4 advance beGause
individuals and businesses need to pay their bills. nena
ate made to claimants who are not receiving their
while the claanub is Underway.

The process works as follows:

s Once your supporting docurrentation is received, your claim will be
evaluated, and you will be notified ifan advance payment will be
provided for your claim.

* The advance payment will Ge up 10 the equivalent of one month lost
incorne, based on documentation yau provide. The advance is not
based on actual incame, and you may receive supplemental payments
if documented losses are larger than the amount of the interin
advance payment.

Second payments

o ae HY
advance payment wil be far the sarne amount 2s the first payment you
received. No chack will be reduced.

individuals aid businesses wil receive their second payment about 30 days
aiter their initial advance payment was received. For exampis, if you received 2
payment on May 15, you will receive @ second interim advence payment about
June 18, Checks will ba matied to you along with a letter fhat is printed in four
languages -- English, Spanish, Vietnamese, and Khmer.

¥ you are receiving your first interim advance payment in June, the claims
center will communicate with you about any further possible payments.

aupropriate

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Supplemental payment

if you have losses that are larger than the amount of any interim advance
payment, you must work with a claim adjuster to discuss those losses. These
who have provided documentation thai demonstrates [ne lasses actually
incurred are larger than the tolal amount of interim advance payments (ecelved
will receive & supplemental opymeni for the differance. This payment wil be
provided by a claim adjuster after talking with the mdividual or business owner.

Help after you file a claim

You may call 1-800-573-8249 to check on the status of a claim if you have a
claim number and have not heard from @ claim adjuster. Yau should be
prepared io provide your name, address and clains mimber so that the claim
can be care easily iocated.

Legal representation
Af attorney is nol neécassary to submit a aim to BP. Some cGaimants may

want to seek the advice or assistance of av atlomey. BP pledges to tradi
claimants represenied by attorneys thea same as claimants proceeding without

http://www.bp.com/sectiongenericarticie.do?categoryld=903379 | &contentid=7062345 6/17/2010
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the assistance of an. attorney.

You and your attorney may prefer that you deai with BP or its adjusters directly.
in [hat event, your aitorney musi consent in welling. To assist you, we have
provided the atiached authorization in the fink below, which will allow ug to
communicate with you directly with respect to your claim/(s).

> Attorney representation form (pdf, S4KB)

Your attorney must send a letter of representation or the ‘Attorney
rapreseritation form te ESIS. inc.

Fax: 302-478-6272
Maik ESIS, Inc.

1 Beaver Valley Road
7 West

Wilmington, DE 19803

if you are an attorney, filing on behalf of claimari(s}, please fax a letter of
representation to ESIS, inc, at 302-478-6272

Translators available
Some of the Clasns Offices are staffed with translators including the following:

For Vietnamese:

se Bayou Labisire, AL

Bay St. Louis, MS: Biloxi, MS
New Oreans . LA
Boothville-Venice, LA
Graina/Belle Chase, LA

For Spanish:

Bayou Lafaire, Al.
Bay St, Louis, MS
Orange Brach, AL
Mobile, AL

2 8 # &

For Kamer
e Bay St. Lovis, MS

BP Community Offices aiso have translators. Additional tansialors will be
provided as needed at Claims Offices.

» List of Claims Offices
Materlals are available ir:

r Spanish

>» Vielnamese

Fraud

A fraud resoring holline has been established at 1-877-359-6261. All potential
claims of fraud, waste, oF abuse will be invesligaied by a dedicated Special
investigation Unit, and where appropiate, submitted to authorities.

Anyone submitting false claims may be subject to civil and criminal prosaciudion
under Federal law.

Our commitment to resolving pending claims

BP is committed te working with individuals to ensure that ALL legitimate
claims are paid. Ve have asked the companies processing claims to assist
individuals and businesses that may be experiencing difficulty identifying or
locating necessary information.

SP deeply regrets that you nave been impacted and inconvenienced,

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CGlains Reporl Deepwater
Hoaizon Incident

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: How to make a claim

» Gulf of Mexico response

* How to make a claim

BP deeply regrets the spill that has occurred
in the Gulf of Mexico as a result of the
Deepwater Horizon Incident. BP takes full
responsibility for responding to the
Deepwater Horizon incident

Key claims statistics — July 06, 2070

pee ¢ bP ae wD

ea

$4146 million paid

48,500 checks written since May 3 (8 weeks}

114,000 cails received

second average call wait time

14,700 claims submitted ontine (as of dune 29}

35 field offices, with tranalation capabifity at 9

96,300 total clairas

1300 mernber claims tearn

5 day average time trom "claim to paid" for individuals who have
received checks

8 day average time from “claim to paid” for commercial entities
who have raceived checks

More than 44,000 claims are awaiting documentation

More than 12,700 claims have “contact difficutties”

{Ali numbers are rounded)

items covered by claims

BP is committed to paying aii legitimate claims for damiages resulting fram the
of spill and necessary response casts. This includes.

a 2 #

Property damage

Net loss of profits and earning capacity
Subsisience foss and natural resource damage
Ramoval and cleanup costs

Casi of increased public services

Net ioss of government revenue

BP also will evaluate all claims for bodily injury even though they are not
payable under the Oit Spill Pollution Act of 7690.

individuals and businesses

in this section

+ BP community and claims
office Locations

Latest video

: The impact the claims center has
: had in Bayou le Baire, Alabama

Helpful downloads

| + FAQs about the 8F claims
: process {pdi, 100KB)

: + BP claims process (pdf,
222KB)

» BP claims process
(Government entity) fodf. 34K8)

» Atiorney representation forn
i (pdf, 64KB)

» Commercial fisherman claims
form (pdt, 103KB)

+ Crabbers claims form {edf,
404KB)

+ Oyster lease owner claims
| form (pdf, 88KB)}

|» Commercial shrimper claims
fore (pdf, 948}

: +» Commercial ciaira
: documentation (pdf, 64a)

+ Vietnamese for for Attorney
) Representation (pdf, 1G3KB)

: Press conference

| Claims process press conference
' Orange Beach Alabama - & June
+ 2018

i

_F Listen to the press conference

Ex. 2
riow to make a claim,

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flast visited July 6, 2019).

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BP Claims Process | Making a claim for compensation | BP Page 2 of 5

BP has established a process for individuals and businesses to file claims fo
cover fosses and/or damage. File a claim by cailing the toll-free number, 1-000-
440-0858 (TTY device 1-800-872-3053), or by sudmitting a form ontine:

» Claims submission icrm
» Forzivlanio en espafiol para ovesentar reclamaciones (Spanish form}
& Thong tin quan trong (Vietnamese form)

Hf you file a claim via the toll free number, 1-860-440-0858
{TTY device 1-800-872-3053}

» You willbe given a claim nuraber by ihe call center. itis imporiant that
you keep your claim number, You wii need this information.

« After you have your claim number, a claim adjuster will contact you, or
you can visit a claim center.

e if you visit the claim center, you will need te have documentation to
support your claim and 3 phote ID.

@ if you talk with a claim adjuster on the phone, documentation can be
seni by mail, email, or fax.

se See below for what wpe of documentation is needed for each type of
claim.

if you file a claim online at www.hp.comiclaims:

« Yau willbe called and provided a claim number, usually the same day.

e After you have your claim number, a claim adjuster will contact you, oF
you can visit a claim center.

e Tf you visit the center, you will need a photo ID and documentation te
suppor your clain.

2 if you talk with 2 claim adjuster on the phone, documentation can be
sent by mail, email, or fax.

e« See below for what ig needed for each type of claim.

Visit a Claims Office

You may visit one of the 25 BP Claims Offices; however, wa recommend that
you first obtain a claim number by calling the iol free number 1-800-440-0858
(TTY device 1-800-572-3053). This will help avoid delays.

+ List of BP Claims Offices

Claims by mail

You may submit a claim via mail by sending if fo: ESIS, One Beaver Valley
Road, Wimingion, DE 49803

Other information

You should onty file one claim. You can report different types of damages on
tha same form with the sarne claim number. Exceptions include # you are
reporting properly damage for more than one real estate propery. If this is the
cage, fie 4 separate form for each address. Claim adjusters can answer any
questions or deal with exceptions.

Clainis that are of large monetary value or are based on complex economic
predictions. of toss shouid be sent io ESIS, One Beaver Valley Read.
Wilmingion, DE 19803. These clainis will be handled by specialized adjusters
with the assisiance of accountants and lawyers.

Government entities

States. parishes, counties and local government and other political subdivisions
ibat have incurred axpenses responding to ihe Deepwater Horizon Incident and
oil spa wit have a seoarale decicaled process. Government eniiies can senc
heir clams to ESIS Government Entity Claims, One Beaver Valley Road,
Wilmington, DE 79603. The fax number is (302) 476-6272. Local government
erties may submit claims by phone by calling (302).476-7732. AP government
Cains wil be handied by a specialized team and will be given high pricrity,

BP has made advanced funds available to the states of Louisiana, Mississippi,
Alabama and Florida, aa wet! as several focal parishes in Louisiana, Local
Government Entities are aot required to submit claims to the states and
parishes who received advanced funds pricr to submilting claims ta BP.

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Supporting documentation

You will need to provide photo ID and documentation supporling your loss.
Betow is information about what is needed to sumporl various claims.

Loss of income or net profit claim documentation can
include:

« Tax records

s Trip tickets

» Wage loss statements

» Deposit sips

« Boal registrations

e Coples of your current fishing tikense

Deckhands and others that work on a cash-only basis can Aisa submit claims
They will need to provide photo ID and a copy of a pay slud or another
document showing how much money they earn. They will also need to provide
@ phone number for their captain or manager to confirm employment.

Cammercial economic loss claims may require additional business specific
records.

Property damage claims can require photographs and replacernent or
Geaning receipts.

Larger property damage claims may require on-site inspection by a claim
adjuster.

Loss of rental claims can include prior occupancy rates, cancellations, fax
records, and tockkeeping records.

Bodily injury claims ere not payable under the On Pollution Act of 1890;
however, BP will evaluate each bodily injury claim submitted on a case-by-case
basis. You wil need to provide medina! records, medicd! bills, or pharmacy
records to support the claim.

Loss of income or net profit

Loss of income or net profit payments are made in advance because
individuais and businesses need to pay trieir pis. Advance interim payments
are made to claimants who are not receiving thelr ordinary income or profit
whila ine cleanup is underway.

The process works as follows:

e Once your supporting documentation is received, your claim will be
évaludied, and you will be notified ifan advance payment will be
provided for your ciaim.

e The advance payment will Se up to the equivalent of one month lost
income, based on documentation you provide. The advance is not
based on actual income, and you may receive supplemental paymenis
if documented losses are larger than the amount of the interim
advance payment

Second payments

if you were given an interim advance payment for joss of Inceme or net pratils
hefore June 4. you are efigitte for a second payment. The second iferin
advance payment vail be for the some amount a3 the first payment you
received. Ne check will he reduced.

lAdhiduais and Husinasses wet recelve their second payment about 20 days
ater their initia! advence payment was received. For example, f you received &
payment on May 15, you wil receive a second interim advance payman about
duns 18. Checks willbe maded ta you along with 4 letter that is. pr j !
languages - Engiish. Spanish, Vieinamese, and Knmer.

# you are receiving your first interira advance payment in dune, the claims
center will communicate with you about eny further possible peyrmenis.

BP will conlinue lc evaluate whelher additional payments are appropriate
because claimanis reniain aut of work due to ihe spl

Supplemental payment

¥ you have fosses that are larger than the amount of any intenm advance

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payment, you Must work with a claim adjuster ia discuss those losses. Those
who have provided documentation that demonstrales the losses actually
incurred are larger than the tolal amount of interim advance payments received
will receive a supplemental payment for the difference. This payment will be
provided by a claim adjuster after taiking with the individual or business owner,

Help after you file a claim

You may call 1-800-573-8249 to check on the status of a ciaim if you nave a
Gaim number and have not heard from a claim adjuster. You should be
prepared to provide your name, address arid claim number se that the claim
can be more easily located.

Legai representation

An attorney is not necessary to submil a claim to BP. Same claimants may
want fo seek ihe advice or assistance of an attorney. BP piedges to treat
claimants represented by attorneys the same as claimants proceeding without
the assistance of an attomey.

You and your attorney may prefer that you deal with BP or its adjusters directly.
in thal event, your attorney mus! consent in writing. To assist you, we have

provided ihe aitached authorization in fhe link below, which will allow us ic
communicate with you directly with respect fo your claim(s).

» Attomey representation form (pdf. 64K}

Your attorney must send a fetter of rapresentation or ihe ‘Attorney
representation form’ to ESIS, Inc.

Fax: 362-476-6272

Mail: ESIS, inc.
1 Beaver Valley Road
1 West

\Mimington, OE 19803

if you are an aitorney, filing an behalf of claimant(s}, please fax a letter of
representation to ESIS, inc. at 302-476-6272

Transiators available

Some of the Claims Offices are Staffed with translators including the folowing:
For Vietnamese:

Bayou Labaire, AL.

Gay St Louis, MS) Biloxd, MS

Naw Orleans , LA

Boothville-Venice, LA
Gretna/Belle Chase, LA

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For Spanistr:

Bayou LaBatre, AL
Bay St, Louis, MS
Orange Brach, AL
Mobile, AL

> 8 8 ©

For Khmer
o Bay St Louis, MS

BP Communily Offices aiso have translators. Additional translalors will be
provided as needed at Claims Offices.

r List of Community and Claims Offices
Materials are avaliable in:

» Spanish
+ Vietnamese

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BP Claims Process | Making a claim for compensation | BP Page 5 of 5

Fraud

A fraud reporting hotline has been established et: 1-577-399-6281. All potential
claims of fraud, waste, or abtuse wif be investigated by a dedicated Soacial
investigation Unit, and where appropriate, submitted to authorties.

Anyone subraitiing false cairns ray be subject io civil and criminal prosecution
under Federal law.

Our commitment to resolving pending claims

BP is committed to working with individuals io ensure that ALL legitimate
claims are paid. We have asked the companies processing claims to assist
individuals and Husinesses that miay be experiencing difficully identifying or
locating necessary information.

BP deeply regrets that you have been impacted and inconvenienced.

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: Claims

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individual and busine

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http://www. bp.com/sectiongenericarticle.do?categoryld=9034722 &contentld=7064398

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A
BP is committed to paying al legitimate
claims for damages resulting from the
Deepwater Horizon Incident

* Individual acd dusiness claims
+ Government claims

individual and business claims

All dlalreg by indivi
incident are sow being proce:
welenins t

hy Ken Fe

& Individual and business claims

Government claims and funding raquesia

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several local

aK QING Ti

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® Government claims

Sleins and gaverunent payments
Gulf of Mexice oli smll

Fupic Rano - data as of Fe

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$3,860,952,642

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Gulf Coast Claims
Facility Hotline
4 8O0 G16 4853

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& BP Repos Neary $400
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Claims,
hifp:/www.bp.com/sectiengenericarticie.da
?categoryld=90347 22&contentld=7054398
‘last visited Feb. 24, 20114).

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Detailed information on government claime payments

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